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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

VALA, LLC, a Limited Liability               :
Company of New Jersey                        :
                                             :         Civil Action No. (2:22-cv-07332- CCC-
                      Plaintiff,             :         CLW)
                                             :
                                             :
v.                                           :
                                             :         PRETRIAL SCHEDULING ORDER
METROPCS NEW YORK, LLC,                      :
T-MOBILE US, INC., Jointly and               :
Severally, and John Does 1 though 10         :
                                             :
                                             :
                      Defendants.            :
                                             :


       THIS MATTER having come before the Court for a scheduling conference pursuant to
Rule 16 of the Federal Rules of Civil Procedure on __________, and the parties having reviewed
the Court’s Civil Case Management Order as well as the Local Civil Rules, and for good cause
shown,

       IT IS on this day of ____6/15/23_____,

       ORDERED THAT the next event in this matter will be See DE 25.

       FURTHER ORDERED that this matter will proceed as follows:


1.     Fact Discovery Deadline. Fact discovery is to remain open through April 15, 2024. All
       fact witness depositions must be completed by the close of fact discovery. No discovery
       is to be issued or engaged in beyond that date, except upon application and for good cause
       shown.

2.     Motions to Add New Parties. Any motion to add new parties, whether by amended or
       third-party complaint, must be electronically filed no later than December 15, 2023.

3.     Motions to Amend Pleadings. Any motion to amend pleadings must be electronically
       filed no later than December 15, 2023.

4.     Rule 26 Disclosures. The parties shall exchange disclosures pursuant to Rule 26 no later
       than July 30, 2023.

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5.    Interrogatories. The parties may serve interrogatories limited to 25 single
      questions including subparts, on or before August 10, 2023, which shall be
      responded to by or before October 10, 2023.

6.    Document Requests. The parties may serve requests for production of documents on or
      before August 10, 2023, which shall be responded to by October 10, 2023.

7.    Depositions. The number of depositions to be taken by each side shall not exceed 10.

8.    Electronic Discovery. The parties are directed to Rule 26(f), as amended, which, inter
      alia, addresses preservation of discoverable information, discovery of electronically stored
      information, and claims of privilege or work product protection. The parties are also
      directed to Local Civil Rule 26.1(d) which describes the obligations of counsel with regard
      to their clients’ information management systems.

9.    Discovery Disputes. Please refer to the Court’s Civil Case Management Order.

10.   Motion Practice. Please refer to the Court’s Civil Case Management Order.

11.   Expert Reports. All affirmative expert reports shall be delivered by May 15, 2024. All
      responsive expert reports shall be delivered by June 17, 2024. Depositions of all experts to
      be completed by July 17, 2024. Parties may waive the use of expert witnesses.

12.   Form and Content of Expert Reports. All expert reports must comport with the form
      and content requirements set forth in Rule 26(a)(2)(B). No expert shall testify at trial as
      to any opinions or base those opinions on facts not substantially disclosed in the expert’s
      report.

13.   Extensions and Adjournments. Please refer to the Court’s Civil Case Management
      Order.

14.   Protective Orders. Any proposed confidentiality order agreed to by the parties must
      strictly comply with Rule 26(c), Local Civil Rule 5.3, and applicable case law. Please also
      refer to the Court’s Civil Case Management Order.

15.   Local Rules. The parties are directed to the Local Civil Rules for any other matter not
      addressed by this Order or the Court’s Civil Case Management Order.

16.   FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY
      OTHER ORDERS WILL RESULT IN SANCTIONS.



                                            s/ Cathy L. Waldor
                                            CATHY L. WALDOR
                                            United States Magistrate Judge

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